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                                                                 Healthcare Merchant Certification:
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                                                                we look for.




                                                                   Registration & Compliance




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                                                             Registration & Compliance
                                                             Our first step is making sure you are who you say you are and that you have the necessary documentation.




                                                           +     l . Licensure or Registration



                                                           +     2. Legal Compliance



                                                           +     3. Domain Name Reg istration



                                                           +     4. Applicant Location




                                                             Internal Practices
                                                             We check to see that your affiliates and staff have the required qualifications.




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                                                               Internal Practices
                                                               We c heck to see that your affiliates and staff have the required qualifications.




                                                             +     5. Prior Discipline



                                                                   6 . Affiliates

                                                                         • The pharmacy, business or medical practice, website, staff, any associated medical personnel, domain name
                                                                            registrant, and any person or entity that exercises contro l over, or participates in, the business must not be
                                                                            affiliated with or control any other entity that violates these standards. Affiliates are any individ ual , business, or
                                                                            entity who previously, currently, o r is expected to have a commercial and/or professional relationship with the
                                                                            applicant o rganizatio n or its principals. For example, this incl udes but is not limited to supplying wholesa lers
                                                                            and co-owned companies.




                                                               External Practices
                                                               We make sure vou r patient services or treatment practices are in complia nce with applica ble laws.




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                                                                                                            entity who previously, cu rrently, or is expected to have a commercial and/or professional relationship with t he
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                                                                                              External Practices
                                                                                             We make sure your patient services or treatment practices are in compliance with applicable laws.




                                                                                           +      7. Patient Services



                                                                                           +      8 . Privacy



                                                                                           +      9 . Controlled Substances



                                                                                           +      10. Validity of Prescription



                                                                                           +      11. Transparency




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